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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                  CASE NO. 16-54471-sms

 JERRY BEIDLEMAN and SONYA YVONNE                        CHAPTER: 13
 BEIDLEMAN,
                                                         JUDGE: SAGE M. SIGLER
                Debtors.

 PENNYMAC LOAN SERVICES, LLC,                            CONTESTED MATTER

                Movant,
 v.

 JERRY BEIDLEMAN and SONYA YVONNE
 BEIDLEMAN, Debtors
 MARY IDA TOWNSON, Trustee,

                Respondent(s).


                                     NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and related papers with the Court seeking an Order Granting Relief from
the Automatic Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
10:15 A.M., on August 18, 2020.

        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the Court
to grant the relief sought in these pleadings, or if you want the Court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file a
written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the Clerk
at least two business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S.
Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must also mail
a copy of your response to the undersigned at the address stated below.
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         If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot be
rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.

       Given the current public health crisis, hearings may be telephonic only. Please check the
“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top
of the GANB Website prior to the hearing for instructions on whether to appear in person or by
phone.



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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                 CASE NO. 16-54471-sms

 JERRY BEIDLEMAN and SONYA YVONNE                       CHAPTER: 13
 BEIDLEMAN,
                                                        JUDGE: HONORABLE SAGE M.
                Debtors.                                SIGLER

 PENNYMAC LOAN SERVICES, LLC,                           CONTESTED MATTER

                Movant,
 v.

 JERRY BEIDLEMAN and SONYA YVONNE
 BEIDLEMAN, Debtors
 MARY IDA TOWNSON, Trustee,

                Respondent(s).


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       COMES NOW Movant named above and shows this Court the following:

      1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Security Deed.

      2.       Movant is the holder or the servicer of a loan secured by certain real property in

which the Debtors have an interest. Said real property is security for a Promissory Note, and is

commonly known as 4225 Kings Causeway, Ellenwood, Georgia 30294.

      3.       Jerry Beidleman executed a promissory note secured by a mortgage or deed of trust.

The promissory note is either made payable to Movant or has been duly indorsed. Movant, directly

or through an agent, has possession of the promissory note. Movant is the original mortgagee or
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beneficiary or the assignee of the mortgage or deed of trust.

       4.          There has been a default in mortgage payments which have come due since this

case was filed. Good through June 30, 2020, four (4) post petition payments of $990.72 each which

totals to be $3,962.88 have been missed.

       5.          Movant estimates the value of the property to be $120,000.00, based upon Debtor(s)

Bankruptcy Schedules A/B & D.

       6.          Good through June 30, 2020, Movant’s total claim is $117,188.08, consisting of

unpaid principal balance of $114,595.64, accrued interest of $2,220.30, escrow advances of

$964.53, Pro Rata MIP of $237.02, and less suspense of $829.41. This is not an exact figure and

may not be relied upon for payoff purposes.

       7.          To the best of Movant’s knowledge, information and belief, its lien is first priority.

Movant has no knowledge, information or belief as to any other secured claims against the

property.

       8.          Because of the default and clear inability to make all required payments, Movant is

not adequately protected.

       9.          Because the Loan Documents so provide, Movant is entitled to reasonable

attorney's fees.

      10.          Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim.

      11.          Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.

        WHEREFORE, Movant prays for an Order lifting the automatic stay, authorizing it to

proceed with the exercise of its private power of sale and to foreclose under its Loan Documents

and appropriate state statutes, and for an award of reasonable attorney’s fees. Movant also prays
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that Fed. R. Bankr. P. 4001(a)(3) be waived. Movant also prays that the Chapter 13 Trustee make

no further payments on account of Movant’s secured claim, that Movant be permitted to contact

the Debtors or Debtors’ Counsel, as appropriate, through its agents, servicers and representatives

for the purpose of engaging in discussions and consideration for possible loss mitigation options,

and for such other and further relief as is just and equitable.



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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  IN RE:                                                  Case No. 16-54471-SMS

  JERRY BEIDLEMAN and SONYA                               Chapter 13
  YVONNE BEIDLEMAN,

                  Debtors.


                                  CERTIFICATE OF SERVICE
    This is to certify that on this day I electronically filed the foregoing Notice of Hearing and
Motion for Relief from the Automatic Stay using the Bankruptcy Court’s Electronic Case Filing
program, which sends a notice of this document and an accompanying link to this document to the
following parties who have appeared in this case under the Bankruptcy Court’s Electronic Case
Filing program:

 Howard P. Slomka                                      Mary Ida Townson

    I further certify that on this day I caused a copy of this document to be served \via United States
First Class Mail, with adequate postage prepaid on the following parties set forth below at the
address shown for each.

 Jerry Beidleman
 Sonya Yvonne Beidleman
 4225 Kings Causeway
 Ellenwood, GA 30294

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Dated: July 27, 2020
                                                 Bryce Noel, Bar No.: 620796
                                                 Attorney for Movant
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